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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                     Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.


         PLAINTIFFS’ SUPPLEMENT TO THEIR RESPONSE TO JOE LOOMIS’
          OBJECTIONS TO DISQUALIFICATION OF EMIL W. HERICH AND
                      KEATS MCFARLAND & WILSON LLP

        Plaintiffs Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI”)

 (collectively, “Plaintiffs”) respectfully submit this Supplement to their Response to Defendant

 Joseph C. Loomis’ (“Joe Loomis”) Objections to Magistrate Judge’s Decision on Nondispositive

 Matter and Request for Reconsideration by District Court of Magistrate Judge’s Ruling (the

 “Objections”) regarding the disqualification of Emil W. Herich and Keats McFarland & Wilson

 LLP (“Keats McFarland”).

                                     I.        INTRODUCTION

        Since being disqualified by this Court on September 3, 2010, Mr. Herich has disregarded

 this Court’s Disqualification Order and, with Joe Loomis, has intentionally tampered with

 Plaintiffs’ witnesses. Despite being disqualified, Mr. Herich has met with and interviewed at

 least two of Plaintiffs’ former employee witnesses in Arizona. Mr. Herich used the threat of

 subpoena to compel one such witness to meet with him to discuss issues related to this case. Mr.

 Herich drafted and obtained sworn declarations from that witness for use in this case. One

 declaration concerns the Protective Order issued by this Court prohibiting Joe Loomis from
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 contacting Plaintiffs’ witnesses. The other declaration purports to clarify certain assertions made

 by the witness in an earlier declaration that Plaintiffs filed in support their motion for sanctions

 for Joe Loomis’ intentional destruction of evidence. Further, Mr. Herich attempted to coerce that

 witness not to communicate with Plaintiffs’ counsel in breach of his Termination Agreement,

 assuring the witness that the Indemnity Agreement Joe Loomis wrongfully entered into with the

 witness would cover him if Plaintiffs sued him. Judge Buchanan’s decision to disqualify Emil

 Herich and Keats McFarland was correct.           Mr. Herich’s blatant violation of this Court’s

 Disqualification Order and witness tampering provide this Court with additional grounds for

 disqualification. Joe Loomis’ objections thus should be overruled.

                                          II.      FACTS

        A.      Mr. Loomis’ Continued Witness Tampering and Violation
                of the Protective Order

        On October 30, 2009, this Court issued a Protective Order prohibiting Joe Loomis and his

 then lead counsel, Hunter Humphrey and Yavitz of Phoenix, Arizona (“Arizona Counsel”), from

 contacting Plaintiffs, Plaintiffs’ employees, and Plaintiffs’ witnesses as a result of Joe Loomis’

 and Arizona Counsel’s witness tampering and harassment. Mr. Loomis has disregarded the

 Protective Order and, with the assistance of certain attorneys including Mr. Herich, has

 continued tampering with Plaintiffs’ witnesses.

        On July 14, 2010, Mr. Loomis entered into a Release and Indemnity Agreement (the

 “Indemnity Agreement”) with one of NEI’s former employees and Plaintiffs’ witnesses,

 Matthew Leberer. Declaration of Matthew Leberer, dated February 16, 2011, attached as Exhibit

 1 (“Leberer Decl.”), ¶ 4 and Exhibit A. Mr. Leberer believes that Sheilah Snyder, another

 former NEI employee and Plaintiffs’ witness, entered into a similar agreement with Mr. Loomis.

 Id. Under the Indemnity Agreement, Mr. Loomis released Mr. Leberer from any claims he has



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 related to Mr. Leberer’s employment with NEI, Mr. Loomis’ termination from NEI, and any

 other past dealings. Mr. Loomis further agreed to indemnify Mr. Leberer if he did not testify for

 NEI at trial and Plaintiffs sued him for breaching the Termination Agreement Mr. Leberer

 entered into when he ceased his employ with NEI in 2008:


        Further, Mr. Loomis hereby indemnifies Matthew Leberer from any and all
        liability and costs that could result from any actual or alleged breach by Mr.
        Leberer of his Termination Agreement dated November 17, 2008. This
        indemnification is total and complete, it includes any resulting liability for such
        actual or alleged breach including attorney’s fees, damages and court costs,
        provided Mr. Leberer cooperates in his own defense.

 See id., at Exhibit A.   The Termination Agreement contains a provision that requires the

 witnesses, for a period of five years ending in 2013, to “cooperate fully and reasonably with

 [NEI] in connection with any future or current pending matter, proceeding, litigation or

 threatened litigation with respect to which the Employee was involved or has personal

 knowledge,” including testifying at trial. A copy of the Termination Agreements between NEI

 and Mr. Leberer and Ms. Snyder are attached as Exhibits 2 and 3, respectively.

        Both Mr. Leberer and Ms. Snyder have personal knowledge and intended to testify for

 Plaintiffs regarding, among other things, Mr. Loomis’ intentional destruction of evidence,

 forcing employees (including them) to work for his company Loomis Enterprises on NEI time,

 and failure to devote 100% of his time to NEI as per his Employment Agreement. Indeed, Mr.

 Leberer provided a sworn declaration in support of the Motion for Sanctions pending before this

 Court regarding Loomis’ intentional destruction of evidence (the “Spoliation Motion

 Declaration”). A copy of the Spoliation Motion Declaration is attached as Exhibit 4. At the time

 the parties were preparing for trial last year, Ms. Snyder had obtained an Injunction Against

 Harassment against Mr. Loomis for threatening to seriously harm her. A copy of the Injunction




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 Against Harassment is attached as Exhibit 5. Upon information and belief, Ms. Snyder now

 intends to testify at trial for Mr. Loomis. See Declaration of Melissa Roth attached as Exhibit 6.

            B.      Mr. Herich’s Violation of the Disqualification Order and Witness Tampering

            On September 3, 2010, Magistrate Judge Buchanan disqualified Mr. Herich and his law

 firm, Keats McFarland, from participating as counsel for Mr. Loomis in this case because of an

 ethical conflict of interest that Plaintiffs would not waive (the “Disqualification Order”). Mr.

 Loomis thereafter filed Objections to the Disqualification Order. This Court denied Mr. Loomis’

 Objections moot on November 3, 2010, leaving in effect the disqualification of Mr. Herich and

 Keats McFarland from this action. Mr. Herich, however, disregarded the Disqualification Order
                                               1
 and continued participating in this case.

            In late October or early November of 2010, two months after this Court disqualified Mr.

 Herich from this case, Mr. Herich approached Mr. Leberer and Ms. Snyder at a restaurant and

 identified himself as Mr. Loomis’ counsel. Leberer Decl. at ¶ 6. Ms. Snyder previously had

 asked Mr. Leberer to meet with one of Mr. Loomis’ attorneys, but Mr. Leberer had refused, so

 she and Mr. Herich set up this “ambush” meeting without Mr. Leberer’s knowledge. Id. Mr.

 Herich told Mr. Leberer that Mr. Loomis was sorry for everything that had happened and that

 Mr. Loomis would like the opportunity to apologize to Mr. Leberer. Id. at ¶ 7. Ultimately, Mr.

 Herich threatened Mr. Leberer with a subpoena to convince Mr. Leberer to meet with him to

 discuss the Spoliation Motion Declaration which Mr. Leberer had signed and which Plaintiffs


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       Although the U.S. Bankruptcy Court for the District of Arizona (the “Bankruptcy Court”) routinely
      granted Mr. Loomis’ ex parte motion to employ Mr. Herich as special counsel for certain litigation
      matters on August 10, 2010, the Bankruptcy Court’s decision had no effect on this Court’s
      Disqualification Order or Mr. Herich’s ability to participate in this case. Plaintiffs filed a motion for
      reconsideration on the ground, among others, that Mr. Herich failed to disclose his law firm’s
      connection with NEI, which was denied on September 16, 2010. The Bankruptcy Court has never
      addressed the conflict of interest issue, except in relation to Mr. Herich’s disclosures.




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 had filed in this Court in support of their Motion for Sanctions related to Mr. Loomis’ intentional

 destruction of evidence. Id. at ¶ 8. Mr. Leberer agreed to the meeting to avoid the hassle of
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 dealing with the courts regarding a subpoena.       Id.

         Mr. Herich met with Mr. Leberer and Ms. Snyder at Ms. Snyder’s apartment for five or

 six hours on November 12, 2010. During the meeting, Mr. Herich had Mr. Leberer sign two

 declarations that Mr. Herich had drafted for this case – one concerning this Court’s Protective

 Order and one concerning Mr. Leberer’s Spoliation Motion Declaration and various issues

 related to the claims in this case. Id. at ¶¶ 10-13. Mr. Herich placed the case caption for this

 case on both declarations. See id., Exhibits A and B. At Mr. Herich’s request, Mr. Leberer

 asserted in the Declaration regarding the Protective Order that in spite of the prohibition on Mr.

 Loomis contacting him, he wanted the right to be able to contact Mr. Loomis should the need

 arise, such as for reference purposes, as Mr. Loomis was his former boss. Id. at ¶ 11. Mr.

 Leberer believed that he could only obtain the right to contact Mr. Loomis if he agreed to permit

 Mr. Loomis to contact him and thus asserted that he wanted Mr. Loomis to be able to contact

 him as well. Id. Mr. Leberer signed the other Declaration because Mr. Herich told him that if he

 did end up testifying at trial in this case, he may be accused of lying if he did not clarify certain

 statements. Id. at ¶ 12. Mr. Herich further advised Mr. Leberer that Mr. Leberer did not need to

 talk to Plaintiffs’ counsel, despite his Termination Agreement, because Mr. Loomis had agreed

 to indemnify him via the Indemnity Agreement if Plaintiffs sued him for refusing to assist in or

 testify at trial in this case. Id. at ¶ 9.



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     Although Mr. Herich was special counsel to Mr. Loomis’ bankruptcy estate for certain litigation
   matters, Mr. Herich sought information related to this case and Mr. Leberer had no information related
   to the bankruptcy estate.




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                                      III.    ARGUMENT

        In addition to the reasons provided in Plaintiffs’ original response to Mr. Loomis’

 Objections, disqualification of Emil Herich and Keats McFarland is warranted because Mr.

 Herich has violated this Court’s Disqualification Order and has tampered with at least one, if not

 two, of Plaintiffs’ witnesses. Since being disqualified by this Court, Mr. Herich has met with

 and interviewed at least two of Plaintiffs’ former employees, Mr. Leberer and Ms. Snyder, who

 intended to testify for Plaintiffs at trial. Mr. Herich used the threat of subpoena to compel Mr.

 Leberer to meet with him at Ms. Snyder’s house, despite the fact that he no longer had the

 authority to issue such a subpoena in this case. The sole purpose of Mr. Herich’s meeting with

 Mr. Leberer and Ms. Snyder, which lasted five or six hours, was to discuss issues related to this

 case. Indeed, Mr. Herich drafted two declarations for Mr. Leberer to sign during that meeting.

 One of the declarations concerns the Protective Order issued by this Court prohibiting Joe

 Loomis from contacting Plaintiffs’ witnesses. Mr. Leberer asserted that he wanted to be free to

 contact Mr. Loomis, as his former boss, if necessary (e.g., to obtain a reference). Mr. Leberer

 also asserted that he wanted Mr. Loomis to be able to contact him because he believed, after

 talking with Mr. Herich, that would be the only way to effectuate his right to contact Mr.

 Loomis. Mr. Herich had Mr. Leberer sign the other declaration to “clarify” certain assertions

 made by Mr. Leberer in an earlier declaration that Plaintiffs filed in support their motion for

 sanctions for Joe Loomis’ intentional destruction of evidence. The new declaration addresses

 Mr. Loomis’ destruction of evidence, time devoted to Loomis Enterprises when he was supposed

 to be working for NEI, and diversion of assets to Loomis Enterprises – all issues related to this

 case. If there were any question as to the purpose of the declarations, Mr. Herich placed this

 case’s caption at the top of both declarations. Indeed, Mr. Herich could have prepared the

 declarations with no case caption at all. There is, however, no use for these declarations other


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 than for this case. Mr. Herich’s activities constitute participation in this case in violation of the

 Disqualification Order.

        Further, Mr. Herich has intentionally tampered with Plaintiffs’ witnesses. Mr. Herich

 attempted to coerce Mr. Leberer to disappear from this case, i.e., to not communicate with

 Plaintiffs’ counsel in breach of his Termination Agreement. Mr. Herich assured Mr. Leberer that

 the Indemnity Agreement Joe Loomis wrongfully entered into with Mr. Leberer would cover him

 if Plaintiffs sued him. In addition, Mr. Leberer believes that Mr. Loomis’ and Mr. Herich’s

 efforts regarding Ms. Snyder were effective and that she now intends to testify on behalf of Mr.

 Loomis instead of Plaintiffs, despite the fact that she feared for her safety because of Mr. Loomis

 just a year ago. Mr. Herich’s tampering with Plaintiffs’ witness(es) renders him unfit to be

 admitted pro hac vice in this Court.

        This Court properly found that, based upon the evidence, Emil Herich and Keats

 McFarland should be disqualified from representing Joe Loomis against NEI in this case. Mr.

 Herich has provided this Court with additional grounds for disqualification by violating the

 Court’s Disqualification Order and by tampering with Plaintiffs’ witnesses.

 Dated: February 24, 2011                       Respectfully submitted,

                                                By:       /s/
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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 24th day of February, 2011, I will electronically file the
 foregoing Plaintiffs’ Supplement to Their Response to Defendant Joseph C. Loomis’ (“Joe
 Loomis”) Objections to Magistrate Judge’s Decision on Nondispositive Matter and Request for
 Reconsideration by District Court of Magistrate Judge’s Ruling with the Clerk of the Court using
 the CM/ECF system, which will then send a notification of such filing (NEF) to the following:

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